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,§@R THE WEsTERN DIsTRIcT oF TENNES§W§, _ m no
95 J“L 2‘ m 3 WESTERN DIVIsIoN UL 8 m -

  
 

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Plainciff,
Vs CR.NO. 03-20 09- l
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MO,IION umw JQ» § w 'L’ 4
HAMED FARJALLAH (/ JoN PHIPPS MQCALLA ""1
- U.s. manner ransom
Defendant w;;j`ul\ 12 1203 §
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MOTION FOR RETURN OF FOREIGN PAS SPORT

 

On August 21, 2003, Passport Number M3 52008 issued to the defendant,
Harned Farj allah, was surrendered to the Clerk of the Court pursuant to
Cour“c Order dated August 21, 2003.

On May 10, 2005, after a non-jury trial, the defendant Ha:med Farjallah, was
found NOT GUILTY on all counts of the indictment

WI-IEREFORE, defendant Hamed Farjallah, moves this I-Ionorable Court for
the return of his foreign passport number M35-2008.

Respectfi.llly submitted,

;C

F. GLEN SIS ON

208 ANGELUS STREET
MEl\/[PHIS, TN 38112
901-527-5739

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T!'\is document entered on the docket sheet m ;:Srg|\.anc
with Ru|e 55 and/or 32{1)) FRCrP on

 

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CERTIFICATE OF SERVICE

I, F. Glen Sisson, attorney for Hamed Faijalle.h do hereby certify that a copy
of the foregolng motlon Was hand delivered to the Offlce ofépe United

States District Attorney Generals on the z day ofluae“ LZ‘I)OS.

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F. GLEN SISSON

     

UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CR-20309 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

F. Glen SiSSon

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Memphis7 TN 38112

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

